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                 EXHIBIT 3
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:24-cv-03155-SKC-MDB

 BROOKE SLUSSER, et al.,

              Plaintiffs,

 v.

 THE MOUNTAIN WEST CONFERENCE, et al.,

              Defendants.


                    DECLARATION OF BROOKE SLUSSER


       I, Brooke Slusser, under penalties of perjury, affirm that the following

 statements are true to the best of my knowledge, information, and belief:

       1.     I am over the age of twenty-one (21).

       2.     The statements contained in this declaration are based on my

 personal knowledge and are true and accurate to the best of my knowledge,

 information, and belief.

       3.     I understand that the statements made in this declaration will be

 submitted to the Court in connection with the above-captioned case.

       4.     It is my firm conviction that women volleyball players who have been

 denied equal opportunity because of their sex, should not use pronouns

 inconsistent with biological sex because to do so reflects a lie that sex is malleable

 and changeable, not anchored to biological reality. As a matter of conscience and
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 personal and religious belief, I cannot use pronouns inconsistent with biological

 sex.

         5.    I am very concerned that the Courts Preferred Pronouns Order

 (“PPO”) could subject me to sanctions merely for adhering to my personal beliefs

 and convictions stated above.

         6.    I am further concerned that the PPO reflects that Judge Crews has

 prejudged key issues in this case, including whether anyone who identifies with

 the opposite sex becomes a member of that sex, whether sex is immutable and/or

 whether gender identity is equivalent to “sex.”

        I swear or affirm under penalties of perjury that the foregoing statements are

true to the best of my knowledge, information, and belief.

        Dated this 18th day of February, 2025.



                                        Brooke Slusser




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